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                            UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                       :
                                             :
         Marcia Randazzo                     :       Case No.: 14-19851AMC
                                             :
         Debtor (s)                          :       Chapter 13


                           EXPEDITED MOTION TO INCUR NEW DEBT


         Marcia Randazzo hereinafter referred to as “Debtor” moves this Honorable Court for an Order

Allowing Debtor to Incur New Debt and in support thereof aver as follows:

         1.     Debtor filed a Chapter 13 Bankruptcy on or about December 16, 2014.

         2.     The Chapter 13 filing was assigned case number 14-19851AMC.

         3.     The Chapter 13 Plan was confirmed by this Honorable Court on or about June 18, 2015.

         4.     Debtor is desirous of purchasing the real property known as and located at 44 W 4th

Street, New Castle, Delaware 19720, hereinafter referred to as “the property.”

         5.     On or about February 20, 2020, Debtor entered into an agreement of sale to purchase the

property in the amount of $268,500.00. A true and correct copy of the Agreement of Sale is attached

hereto and labeled as “Exhibit A.”

         6.     On or about March 26, 2020, Debtor was approved for a mortgage to purchase property

in the amount of $263.636.00. A true and correct copy of the letter of approval is attached here and

labeled as “Exhibit B.”

         7.     An expedited hearing is humbly requested here because the settlement date for the

purchase of the subject property is scheduled for April 23, 2020.

         8.     Debtor has completed all payments to the Trustee and the case is currently awaiting

discharge.
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       9.      In consideration thereof, Debtor requests this Honorable court to enter an order allowing

her to incur new debt to finance and purchase the property.

               WHEREFORE, the Debtor requests an Order allowing her to incur new debt to finance
the purchase of the real property located at 44 W 4th Street, New Castle, Delaware 19720.




Dated: April 16, 2020                               /s/Brad J. Sadek, Esq
                                                    Brad J. Sadek, Esq.
                                                    Sadek and Cooper Law Offices
                                                    Attorney for Debtor
                                                    1315 Walnut Street
                                                    Suite #502
                                                    Philadelphia, PA 19107
